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                         IN THE UNITED STATES DISTRICT COURT FOR
                             THE MIDDLE DISTRICT OF ALABAMA
                                                                    REG
     Z8cc, ara zv "J^
                           .
     Full 4ame and p ison number
     of plaintiff(s)
                                         ^w                           SE 2b A U


                                                                     S. OSTR1
                                                        CI
                                                        (To be supplied by the clerk
     >ya>e A4f:!                                        of U.S. District Court)


          j          LT               ,t51'e4
                                                             y
     Name of person(s) who violated
     your constitutional, rights.
     (List the names of all the
     persons.)

     I.       PREVIOUS LAWSUITS
              A.   Have you begun other lawsuits in state or federal
                   court dealing with the same or similar facts involved
                   in this action? YES( ) NO(
               B.   Have you begun other lawsuits in state or federal
                    court relating to your imprisonment? YES( ) NO(

               C.   If your answer to A or B is yes, describe each lawsuit
                    in the space below. (If there is more than one lawsuit,
                    describe the additional lawsuits on another piece of
                    paper, using the same outline.)
                    1.         Parties to this previous lawsuit:
                               Plaintiff (s)



                               Defendant(s)    ,1


                                                0
                    2.         Court (if federal court, name the district; if
                               state court, name the county) 41/




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            3.    Docket number
            4.    Name of judge to whom case was assigned All


            5.    Disposition(for example: Was the case d.Ismi,ssed?
                  Was it appealed? Is it still pending?) A)/



            6.    Approximate date of filing lawsuit

            7.    Approximate date of disposition

II. PLACE OF PRESENT CONFINEMENT


      PLACE OF INSTITUTION WHERE INCIDENT OCCURRED



III. NAME AND ADDRESS OF INDIVIDUAL(S) YOU ALLEGE            LLATED YOUR
     CONSTITUTIONAL RIGHTS.

                  NAME                          ADDRESS
                                                             C'4rp (966cc
                                         Jcc'o               p
      2.         1'PT 1                  é/i'roe 4t/'IaA
      3.             ,                   ro .

      4.                                                          -
      5.
      6.
IV. THE DATE UPON WHICH SAID VIOLATION OCCURRED

           €9j      4r>' d
V.    STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATION
      THAT YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED:
      GROUND ONE:




                                     5
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STATE BRIELY THE FACTS WHICH SUPPORT THIS GROUND. (State as
best you can the time, place and m .anner and person involved.)




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VI. STATE BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO DO FOR YOU.
     MAKE NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.


                                                                     ,_,,,y _   c




                                       Signature bf plaintiff(s)

    I declare under penalty Of perjury that the foregoing is true
and correct.


    EXECUTED on     ^- 3 -^)- ^-A
                              (Date)




                                       Signature   of   pla'-wtiff




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